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                               DISTRICT COURT OF THE VIRGIN ISLANDS
                                DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES,                                       )
                                                     )
                         Plaintiff,                  )
                                                     )
                         v.                          )       Case No. 3:17-cr-0019
                                                     )
GERMAINE HALL,                                       )
                                                     )
                         Defendant.                  )
                                                     )


                                                 ORDER
        BEFORE THE COURT is the motion of Germaine Hall (“Hall”) for compassionate release (ECF
No. 447). For the reasons stated below, the Court will provisionally appoint counsel pending the filing
by Hall of financial information that demonstrates his indigence.
        On September 8, 2020, Hall filed a pro se motion for compassionate release pursuant to 18
U.S.C. § 3582(c)(1)(A). (ECF No. 447). In his motion, Hall asserts that he suffers from “obesity,
immune system deficiencies from smoking, and shortness of breath.” Id. at 1. Hall argues that these
are conditions that puts his life at risk from infection by COVID-19. He further argues that this
increased risk presents an extraordinary and compelling reason to warrant relief under 18 U.S.C.
§ 3582(c)(1)(A).
        Although Hall has previously been represented by retained counsel, he has filed this motion
pro se, noting that he received assistance from a fellow inmate and is not capable of representing
himself. (E.C.F. No. 447, at 13, n.1).
        The Court must consider several factors in determining whether or not to appoint counsel.
See Tabron v. Grace, 6 F.3d 147, 155-57 (3d Cir. 1993) (outlining a non-exhaustive list of factors a
court should consider when exercising its discretion to appoint counsel); cf. United States v. Gibbs,
787 F. App’x 71, 72 (3d Cir. 2019) (applying Tabron to a motion for appointment of counsel in the
context of a request for relief under the First Step Act). The Criminal Justice Act provides that, “[i]f at
any stage of the [criminal] proceedings, . . . the court finds that the person is financially unable to pay
counsel whom he had retained, it may appoint counsel as provided in subsection (b) and authorize
payment as provided in subsection (d), as the interests of justice may dictate.” 18 U.S.C.A. § 3006A(c).
Significantly, any stage of the proceedings “include[s] ancillary matters appropriate to the
proceedings.” Id.
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        For the Court to consider appointing counsel to represent Hall in this motion, Hall must
demonstrate his indigence. As such, the Court will appoint counsel upon the submission of financial
information demonstrating Hall’s indigence. Hall may do so by filing form CJA 23 Financial Affidavit
and a certified copy (i.e., signed by the appropriate institutional officer) of his inmate trust account
for the six-month period immediately preceding the filing of his Section 3582 motion for
compassionate release.
        The premises considered, it is hereby
        ORDERED that, if Hall seeks to proceed as an indigent, he shall file a form CJA 23 Financial
Affidavit and a certified copy (i.e., signed by the appropriate institutional officer) of his inmate trust
account for the six-month period immediately preceding the filing of his Section 3582 motion.



Dated: October 2, 2020                                   /s/ Robert A. Molloy_____
                                                        ROBERT A. MOLLOY
                                                        District Judge
